
ATKINSON, Judge.
We affirm the single order entered by the trial court titled "final judgment denying former husband's supplemental petition for modification of final judgment of dissolution of marriage; final judgment on former husband's supplemental petition as to modification of child support only; and final orders on former wife's multiple motions for contempt/enforcement." See Fla. R. App. P. 9.315(a). However, we grant the appellee's motion to dismiss and dismiss for lack of jurisdiction the portion of the *830appeal challenging the trial court's finding as to the wife's entitlement to attorney's fees. See McIlveen v. McIlveen, 644 So.2d 612 (Fla. 2d DCA 1994).
Affirmed in part and dismissed in part.
SILBERMAN and SLEET, JJ., Concur.
